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                                                       June 2, 2023
VIA ECF
Honorable P. Kevin Castel
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                    RE:       Roberto Mata v. Avianca, Inc No.: 22-cv-1461 (PKC)

Dear Judge Castel:
       We represent Steven A. Schwartz and Levidow, Levidow & Oberman, P.C. (the “Firm”).
We write jointly with counsel for Peter LoDuca in connection with the Order to Show Cause
dated May 26, 2023. (Docket Entry No. 33, the “OSC”). The OSC directs Mr. Schwartz, Mr.
LoDuca and the Firm to identify any live witnesses that they wish to call at the June 8, 2023
hearing.

        Although we expect that our June 6, 2023 submissions will address the main factual
issues in the OSC, in an abundance of caution, Mr. Schwartz, Mr. LoDuca and the Firm intend to
make the following individuals available to present testimony on the issues relevant to the OSC
and to answer any questions that the Court may have:

                   Steven A. Schwartz, Esq.

                   Thomas Corvino, Esq.

                   Peter LoDuca, Esq.

                                                       Respectfully submitted,

                                                       /s/ Tyler Maulsby

                                                       Tyler Maulsby

cc:       All Counsel (via ECF)
